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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 7

BENJAMIN O. RINGEL,                                                 Case No. 8-24-71468-las

                                   Debtor.

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                          STIPULATION AND ORDER GRANTING
                      LIMITED RELIEF FROM THE AUTOMATIC STAY
                         AS TO SALE OF KENNEDY ASSEMBLAGE

          The Administrator (as defined below) and the Trustee (as defined below) (collectively, the

“Parties”), by and through their respective counsel enter into this stipulation and order (the

“Stipulated Order”) pursuant to 11 U.S.C. §362(d), and represent as follows:

          WHEREAS, Kenneth J. Lackey, Esquire, is the court-appointed Substitute Administrator

CTA (the “Administrator”) of the Estate of Klara Ringel, deceased (“Probate Estate”), pending in the

Superior Court of New Jersey, Chancery Division, Probate Part, Monmouth County (the “Probate

Court”), under Docket No. MON-P-093-24, Surrogate No. 268991 (the “Probate Proceedings”); and

          WHEREAS, on April 15, 2024 (the “Petition Date”), the Debtor commenced this case by

filing a voluntary petition for relief under chapter 7 of the Bankruptcy Code. Allan B. Mendelsohn

was appointed Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate (the “Bankruptcy Estate”);

and

          WHEREAS, pursuant to a Contract for Sale of Real Estate (the “Contract”) which was

executed by buyer, Abraham Piller, and sellers Alan Krupnick and Richard Krupnick, as Trustees of

the Sydney Krupnick Family Trust, and the Debtor in his capacity as Trustee of the David Ringel

GST Trust and the Klara Ringel Revocable Trust and as co-manager of KR East Kennedy Realty
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LLC, eight parcels of real estate located in the Township of Lakewood, New Jersey, specifically

identified as Block 140, Lots 2, 3, 4, 5, 6, 9 and 10 and Block 141, Lot 1 (collectively the “Kennedy

Assemblage”) are proposed to be sold (the “Sale”); and

        WHEREAS, on June 28, 2024, the Probate Court entered an Order to Approve Sale of Real

Estate (the “Probate Court Sale Order”) authorizing the Administrator to consummate the Sale

pursuant to the Contract; and

        WHEREAS, JDWC, LLC, as assignee of RCG LV Debt IV Non-REIT Assets Holdings,

LLC (“JDWC”) filed an action in the Superior Court of New Jersey, Chancery Division, Ocean

County (the “Chancery Court”), Docket No. OCN-C-101-20 (the “JDWC Action”), against the

Debtor, the Probate Estate, and others. In the JDWC Action, JDWC obtained certain restraints that

prohibit any distributions to the Debtor directly or any entity owned or controlled by him; and

        WHEREAS, the Administrator has filed a motion (the “JDWC Sale Motion”) in the JDWC

Action seeking permission to proceed with the Sale pursuant to the Contract; and

        WHEREAS, the automatic stay under Section 362 of the Bankruptcy Code may be applicable

to the Sale. The Parties desire to lift and/or annul the automatic stay to the extent applicable in order

to allow the JDWC Sale Motion to proceed, and upon approval of the JDWC Sale Motion, to permit

the Administrator to proceed with the Sale, with the proceeds of Sale to remain in escrow pending

agreement of the Parties and/or further Order of this Court.

        NOW, THEREFORE, it is stipulated as between the Parties, through their respective

undersigned counsel; and after due deliberation and sufficient cause appearing, it is:

        ORDERED that the requested relief is GRANTED.

        IT IS FURTHER ORDERED that to the extent applicable, the automatic stay imposed by 11

U.S.C. §362 is annulled and/or modified to the extent necessary to allow the Sale to proceed

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pursuant to the Contract. The proceeds of Sale, after payment of ordinary and customary closing

costs, shall remain in escrow pending agreement of the Parties and/or further Order of this Court.

Except as provided herein, the automatic stay shall remain in full force and effect, subject to further

order of the Court.

       IT IS FURTHER ORDERED that this Stipulated Order may not be modified other than by a

signed writing executed by the Parties or by further order of the Court.

       IT IS FURTHER ORDERED that the Stipulated Order may be executed in multiple

counterparts, each of which shall be deemed an original but all of which when taken together shall

constitute one and the same instrument.

       IT IS FURTHER ORDERED that pursuant to Rule 4001(a)(3) of the Federal Rules of

Bankruptcy Procedure, the 14 day stay of this Order imposed by such rule is made inapplicable. The

Order is effective immediately upon its entry.




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       IT IS FURTHER ORDERED that this Court shall retain jurisdiction with respect to all

matters arising from or related to the implementation and interpretation of this Order.

ARCHER & GREINER, P.C.                               THE KANTROW LAW GROUP, PLLC
Attorneys for Kenneth J. Lackey, Esq.,               Attorneys for Allan B. Mendelsohn, Chapter 7
Substitute Administrator CTA of the Estate of        Trustee of the Bankruptcy Estate of Benjamin
Klara Ringel, Deceased                               Ringel


By:__s/Harrison H.D. Breakstone__________            By:___s/Hailey L. Kantrow______________
       Anthony R. La Ratta, Esquire                        Hailey L. Kantrow, Esquire
       Harrison H.D. Breakstone, Esquire




SO ORDERED.




 Dated: September 3, 2024                                         ____________________________
        Central Islip, New York                                          Louis A. Scarcella
                                                                   United States Bankruptcy Judge
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